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              IN THE UNITED STATES BANKRUPTCY COURT
           MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION


In Re:
SUSAN LYN CORASIO
                                           Case No. 9:18-bk-03523-FMD
            Debtor
_____________________________/

                                PROOF OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the Order Granting
Trustee’s Motion to Approve Stipulation on Repurchase of Assets has been furnished via
electronic service by the Court and by regular U.S. Mail to Susan Corasio, 1309 SE 8th
St, #202, Cape Coral, FL 33990 this 31st day of October, 2018.


                                           /s/ Robert E. Tardif Jr.
                                           Robert E. Tardif, Jr., Trustee
                                           P.O. Box 2140
                                           Ft. Myers, FL 33902
                                           239/362-2755
                                           rtardif@comcast.net
